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EXHIBIT K

case 1:09-cv-00597-i_i\/is-Tcs Document 41-12 Filed 10/23/09 Page 2 or 6 P§§e‘idii?‘zis

Roth, N|elissa R.

 

From: isabel Ni i~|umphrey [isabel@hhy|aw.com]

Sent: |V|onday, October 05, 2009 4:59 PNl

To: Dickinson, Miche||e J.

Cc: Rothl Me|issa R.; Cramer, Vanessa; dludwig@dglega|.com
Subject: RE: Loomis laptops

i'm not Hxated, iVliche|le. l sent you a simple emai| weeks ago explaining the mistake and requesting a

prompt exchange Since thenl you've sent me several dissertations on the subject to which l feel compelled to
respond if your response had been, "OK, thanks for the information. We'ii send someone upstairs to switch the
laptops"' we would have been done with this long ago.

You have explained why it will take you a week to pick up NEl's iaptop-you want a computer tech to personally
carry it from here to the East Coast so he can testify that nothing happened to it en route. That's Hne, but it
doesn't explain why you can't return Joe's iaptop in the meantime lt won't take a week to remove NEl's data.
Believe mel i'm not holding NEl's |aptop hostage There is no need for a literal "exchange" if you want to take
special precautions with NEl's laptop.

in the meantime please arrange for Joe's laptop to be delivered to my oche by 5:00 pm tomorrowl or tell us
where it is so we can send someone to retrieve it. i¢\lsol once again, please confirm that when you say you will
remove the "data" from Joe‘s |aptop you are talking about NE| data and not data, installed software or re|oad
software that is part of the factory set-up (i.e., data he paid for).

if your tech can give us sufhcient notice for Joe to arrange to get the custom tower (the one listed on Schedule
5.1) out of storage and over to my oche prior to his visit to pick up NEl's iaptopl the tech is welcome to image the
hard drives on that machinel As l believe you are already aware, howeverl the computer would not boot up the
Hrst time Joe attempted to use it after retrieving it from NE|. Nlatt Leberer then attempted to boot up the machine
for several hoursl but could not. The original drives were sent to the manufacturer, and the manufacturer sent
back replacement drives

We will not produce Joe‘s personal computer(s) for imaging

l will respond in writing to your other communications |fyou feel we need a telephonic conference after that, we
can schedule one.

isabel lVl. l-lumphrey, Esq.

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--- Origina| l\/|essage ----
From: "Diokinson, lVlichel|e J."
To: "|sabei iVl l-iumphrey"
Sent: 10/05/2009 12:42PNl
Subject: RE: l_oomis |aptops

|sabek

10/23!2009

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VVe are curious as to why, when you have yet to respond to our numerous letters regarding your ciients' discovery
response deficiencies or our requests for deposition dates and you have yet to produce a single document in this
case. you are flxated on a iaptop computer that your client returned to Net Enforcers while keeping Net

Enforcers' newer model iaptop over a year ago. We request that you focus on the more pressing issues related to
litigating this case - as discovery closes on December ‘iith and we will find ourselves in trial not long thereafter.

We are prepared to retrieve Net Enforcers' iaptop and return Loomis' iaptop with the software intact and only the
data removed We will do so, howeverl only under circumstances that will protect our clients from potential claims
from Loomis that our clients destroyed data or damaged either computer, Further, we will do so under
circumstances such that a qualified computer technician may testify that the computer Loomis provides was not
damaged after the exchange and before any forensic analysis can be performed According|y, we will send a
computer technician to your offices to make the exchange and transport the computer back to the East Coast for
examination We should be able to do so in the next week or so after the data has been removed. We trust this
will assuage your desire to bring civil or criminal charges against our clients related to the iaptop computer and
will enable you to refocus your energies on the actual issues in this case

We again request that you provide Loomis' computers for imaging by the computer technician we send to
exchange the iaptops. This will save the parties time and resources Rather than threatening a counterclaim or
criminal action, perhaps you could respond to our request for the computer images directly and indicate whether
you intend to produce Loomis' computers for imaging, an image of his computers or nothing at aii, if so. we can
arrange for the images to be made by the computer technician at the time of the iaptop exchange if notl we will
move forward with seeking the court‘s assistance with this matter.

We look forward to your prompt attention and response to this and ali other outstanding discovery issues As you
did not respond to our emaii sent at 1:22 p.m. EST today requesting a call at 3100 p_m. EST today or 4:00 p.m.
EST tomorrow to discuss the discovery issues please advise as to your availability for a call tomorrow at 4:00
p‘m. EST. Thank you in advance for your cooperation with these issues

N|icheiie

From: Isabei M i-lumphrey [mailto:isabel@hhylaw.com]
Sent: Monday, October 05, 2009 2:45 PM

To: Dickinson, Michelle J.

Cc: Roth, Melissa R.; Cramer, Vanessa

Subject: RE: Loomis iaptops

So send someone upstairs l will not move the iaptop in my possession until they get here | will let them
pick it up so | don‘t drop it. and l will keep it away from any large magnets i can't imagine what you think
might happen that would require the presence of a computer tech/consultant but if you really need one,
there are probably a couple of dozen available within a S-minute drive from this building who would be
happy to charge you 3100 per hour to drive over here and switch the iaptops. No need for anyone to fly in
from out of state

if l do not have Joe's iaptop by the end of the business day tomorrowl we will move to add a conversion
count to the counterclaim and Joe will call the police i am not conditioning the release of NEl's iaptop on
the resolution of any of our discovery issues, and there is no excuse for you conditioning the release of
Joe‘s iaptop on any of those issues

Regarding the iaptop in NEl's possession, please connrm that when you say you will remove the "data" on
that iaptop prior to the exchange you are referring only to NE| datal and you will leave in place ali installed
software

isabel iVi. i-lumphrey, Esq.

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---- Origina| Niessage ----
From: "Dickinson, Nlicheiie J."
To: "isabei Ni l~lurnphrey"
Sent: 10/05/2009 11:16AiVl
Subject: RE: Loomis iaptops

Thanks for your emaii response isabei. in light of the data destruction issues in this casel our client is
taking extra measures to ensure that the exchange of computers does not unnecessariiy lead to a data
destruction problem

Nlichei|e

From: Isabe| M Humphrey [maiito:isabei@hhylaw.com]
Sent: Monday, October 05, 2009 2:08 PM

To: Dickinson, Michelle J.

Cc: Rothr Meiissa R.; Cramer, Vanessa

Subject: Re: Loomis iaptops

ii/iicheiie, i can't understand why you need an out-of-state “consuitant" to "faciiitate" the exchange of
the iaptops. Can‘t you just send someone up from downstairs?? Or l can send someone
downstairs Either way. This should take 2 minutes

isabel Nl. Hurnphrey, Esq.

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---- Original Message ---
From: "Dickinsonl lViici'ielie J."
To:

Sent: 10102/2009 5:47Pl‘vl
Subject: Re: Loomis iaptops

lsabei,

Thank you for your cmaii. As explained in our letter, we will be paying a consultant to facilitate the exchange
of the iaptop computers as a result of Joe's return of the wrong computer after his termination in order to
avoid unnecessary additional expenses1 it makes sense to have the consultant make only one trip to Arizona
and image the tower and the other computers in Joe's possession, custody or control during that visit. Please
confirm your agreement with this arrangement Thanks

Michelle

Michelie J. Dickinson

10/23/2009

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ATTORNEY WORK PRODUCT

----- Original Message -----

From: isabel l‘vI i-lumphrey <isabel@hhyiaw.com>
To: Dickinson, Michelle J.

Sent: Fri Oct 02 20:03:08 2009

Subject: RE: Loomis iaptops

Micheiie, I‘ve reviewed your iatest communication regarding the iaptops. I'm glad we have finally resolved
the ownership issue Piease have your computer tech call me to arrange a time to exchange the iaptops. l will
be in the office most ot" the day Monday and Tuesday.

l will respond to the other issues raised in your letter, but obviously NEI is required to return Joe's property
immediately and unconditionally

isabel i\/i. Humphrey, Esq.

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